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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §                     Case No: 4:21-cv-01557
                                      §
vs.                                   §                     PATENT CASE
                                      §
MOBISOFT INFOTECH, LLC,               §
                                      §
      Defendant.                      §
_____________________________________ §


      JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

        Plaintiff Social Positioning Input Systems, LLC, and Defendant Mobisoft Infotech,

 Inc., by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

        1.    All claims asserted by the Plaintiff in this Action are dismissed with prejudice

 under Fed. R. Civ. P. 41(a)(1)(A)(ii);

        2.    Each party shall bear its own costs and attorneys’ fees with respect to the matters

 dismissed hereby;

        This Stipulation and Order shall finally resolve the Action between the parties.




JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE                                         |1
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Dated: June 22, 2021                      Respectfully submitted,


                                          /s/Jay Johnson
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                                          Counsel for Defendant Mobisoft Infotech, LLC

                                CERTIFICATE OF SERVICE

          I hereby certify that on June 22, 2021, I electronically filed the above document(s) with
 the Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to
 all registered counsel.
                                               /s/Jay Johnson___________
                                               JAY JOHNSON




JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE                                           |2
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 SO ORDERED this _____ day of _______________, 2021.


                                      _______________________________________
                                      UNITED STATES DISTRICT JUDGE




JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE                         |3
